






NO. 07-03-0169-CV





IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



JUNE 5, 2003


______________________________



RICHARD CARR AND WALT WILLIAMS CONSTRUCTION,




		Appellants


v.



LUBBOCK-COOPER INDEPENDENT SCHOOL DISTRICT, ET AL., 




		Appellees

_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 95-731,710; HON. MACKEY K. HANCOCK, PRESIDING


_______________________________



ORDER DIRECTING FILING OF REPORTER'S RECORD


__________________________________


Before QUINN, REAVIS, and CAMPBELL, JJ.

	Appellants Richard Carr and Walt Williams Construction perfected this appeal. 
Notice of appeal was timely filed in the trial court on April 8, 2003.  The clerk asked for an
extension of time to file the record, which deadline we extended to June 9, 2003.  The
reporter's record was due to be filed on May 7, 2003.  It was not received, however.  On
May 13, 2003, this Court sent a letter requesting Deborah Pettit, the official court reporter,
to complete and file a reporter's request form by May 23, 2003.  It has yet to be received
by the Court.  See Tex. R. App. P. 35.3(b).  On May 27 and June 2, 2003, the deputy clerk
of this Court made phone calls to Deborah Pettit to inquire into the status of the reporter's
record; she has yet to respond to the messages left.  To date, no reporter's record or
motion for extension of time has been filed with this Court. 

	Accordingly, we order Deborah Pettit, the official court reporter for the 140th District
Court of Lubbock County, to transcribe and file with the Clerk of this Court a reporter's
record as required by the Texas Rules of Appellate Procedure and encompassing the trial
had in cause number 95-731,710.  Said record shall include all argument, evidence, and
exhibits presented to the court during trial, as well as any pretrial and post-trial hearings
conducted by the court in said cause.  We further order Deborah Pettit to file the complete
reporter's record in a manner by which it will be received by the Clerk of this Court on or
before 5:00 p.m. on June 30, 2003.  No further motions for extension of time will be
considered.  Lastly, the failure to file the reporter's record by the date stated herein may
result in a hearing requiring Ms. Pettit to show cause why she should not be held in
contempt, a complaint to the body governing certified court reporters, appropriate
sanctions, or abatement and remand to the trial court for appropriate action.

	It is so ordered.

							Per Curiam




ml", "replace" );
    floatwnd.document.write( "\r\n" );
    floatwnd.document.write( "\r\n" );
    floatwnd.document.write( "\r\n" );
    floatwnd.document.write( WPtext );
    floatwnd.document.write( 'Close');
    floatwnd.document.write( "" );
    floatwnd.document.close();
    floatwnd.focus();
  }
}

function WPHide( WPid )
{
  if( bInlineFloats )
    eval( "document.all." + WPid + ".style.visibility = 'hidden'" );
}







NO. 07-09-0019-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL D

JULY 20, 2009

______________________________

IN THE INTEREST OF C.H., T.H. AND S.H., CHILDREN 
_________________________________

FROM THE 395TH DISTRICT COURT OF WILLIAMSON COUNTY;

NO. 07-1763-F395; HONORABLE MICHAEL JERGINS, JUDGE
_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Through two issues, father and mother appeal the final order of the trial court
terminating their parental rights to C.H., T.H. and S.H.  In their first issue, they contend the
evidence at trial was factually insufficient to support the trial court’s finding that termination
of parental rights was in the best interest of each child.  In their second issue, they argue
if their first issue is sustained we should vacate the trial court’s appointment of appellee,
the Texas Department of Family and Protective Services, as sole managing conservator
of the children.  We overrule the first issue of father and mother, do not reach their second
issue, and affirm the judgment of the trial court. 
Discussion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Department’s petition to terminate the parental rights of father and mother was
tried to the court on December 2, 2008.  The department presented its case-in-chief
through the testimony of a Child Protective Services investigator and a caseworker.  Father
and mother testified on their own behalves.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the time of trial C.H., T.H. and S.H. were fourteen, thirteen and six years old
respectively.  The record shows that between 2004 and 2007, the Department investigated
nine referrals involving father and mother.  The reports included claims of domestic
violence, abuse and neglect of the children, and use of cocaine, ecstasy and
methamphetamine by father and mother.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to mother’s testimony, when C.H. was thirteen she allowed herself to be
arrested for shoplifting in place of mother, because mother had an outstanding arrest
warrant for possession of a controlled substance.  Father and mother also acknowledged
another event that led to a report of abuse and neglect when a weapon was discharged
during an argument between them while C.H. was present.  Mother testified father
threatened to commit suicide.  The Department was unable to fully investigate all the
reports because father and mother regularly moved.  The Department investigator listed
seven reports with respect to which the Department was “unable to locate the family.”  The
trial court found their frequent moves amounted to a failure to cooperate with the
Department by father and mother.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In May 2007, father and mother were arrested in the presence of the children.  In
the resulting absence of their parents, the children stayed with father’s sister.  In an
interview in her home with the Department, the children expressed fear of their parents.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Department was named temporary managing conservator of the children on
August 7, 2007.  The following day it discovered mother had removed T.H. and S.H. from
their aunt’s home, leaving C.H.


  C.H. chose to remain because she believed her parents
continued using methamphetamine.  Father and mother did not return S.H. and T.H. to the
custody of the Department despite an order placing the children in foster care.  Rather,
they left the state and moved to South Carolina, where members of mother’s family live. 
According to mother, South Carolina social services personnel were aware of the situation
and met with her shortly after their arrival in South Carolina.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In June 2008, mother was arrested in South Carolina and charged with felony
assault and battery.  As a result, she was incarcerated in South Carolina from June 15,
2008, until obtaining release on bond on August 19.  According to the trial testimony of
mother, the South Carolina charges were reduced to a misdemeanor with a pending plea
bargain offer of three years probation.  The Department established family service plans
for father and mother but by the time of trial neither had fulfilled all their plan requirements.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At trial, mother acknowledged substantial prior drug use but denied using
methamphetamine during the preceding year.  She further acknowledged attempting to
parent the children under the influence of illegal drugs between 2004 and August 2007. 
The caseworker agreed that mother admitted having a problem with crystal
methamphetamine.  Mother received two drug tests as part of her service plan.  Both
produced negative results.  About five months before trial, a hair follicle drug test of father
was positive for cocaine, marijuana and benzodiazepine.  The test measured the preceding
ninety days.  During this period father had possession of T.H. and S.H.  Father offered no
explanation for the test result.  Mother testified she last saw father use marijuana in April
2008.  Father averred he last used marijuana some five months before trial.  He
acknowledged a prior charge of possession of methamphetamine, and agreed to previous
abuse of this drug.  He chose not to attend Alcoholics Anonymous or Narcotics Anonymous
but identified peer pressure as a trigger for his use of illegal drugs.  In a jail interview with
the Department, mother stated that she and father had used illegal drugs to the point of
losing everything. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the time of trial, mother and father each were working at two jobs.  Both were
paying child support.  Father lived with his sister.  Evidence of the stability of this
environment was not presented.  According to father, he was enrolled in a two-year
community college program leading to an associate’s degree in construction management. 
He added that his father agreed to pay the expenses of his education.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After mother’s June 2008 arrest, South Carolina authorities cooperated with the
Department.  A Department employee returned T.H. and S.H. to Texas, where they joined
C.H. in a placement with their paternal grandparents.  The Department made
arrangements for each child to receive therapy.  In the opinion of the caseworker, the
school performance of the children was acceptable.  He also agreed that the grandparental
placement was appropriate to meet the needs of the children. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;According to the caseworker, the children “act out” when contacted by mother. 
Although not clearly expressed by the record, it appears C.H. was in foster care for a time
during her parents’ stay in South Carolina.  In the placement, she destroyed property and
“acted out.”  On the day of trial, T.H. was involved in an altercation at school with a teacher. 
The police were summoned and T.H. was charged with disorderly conduct.  It was
expected he would also receive in-school suspension.  Although C.H., T.H. and S.H. did
not testify at trial, the record establishes their clear opposition to termination.  Their
guardian ad litem told the court the children “desperately” wanted to be reunited with their
parents.  The caseworker agreed it is not unusual for children to want to be reunited with
their parents, regardless of prior abuse.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The caseworker opined that because of father’s prior choices he would be a danger
to the children.  It was also his opinion that neither parent was capable of providing a safe
environment for the children.  He did not believe it was in the best interest of the children
to wait for father and mother to complete their family service plans.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the conclusion of trial, the court terminated the parent-child relationship between
father and mother and C.H., T.H. and S.H. and appointed the Department managing
conservator.  It made findings that father and mother 1) knowingly placed or knowingly
allowed the children to remain in conditions or surroundings which endangered


 their
physical or emotional well-being; 2) engaged in conduct or knowingly placed the children
with persons who engaged in conduct which endangered the physical or emotional well-being of the children; and 3) failed to comply with a court order specifically established to
obtain return of the children.  Tex. Family Code Ann. § 161.001(1)(D),(E),(O) (Vernon
2008).  It further found mother constructively abandoned C.H.  Tex. Family Code Ann. §
161.001(1)(N) (Vernon 2008).   
Analysis
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Father and mother acknowledge the evidence sufficiently supports at least one
termination ground.  Through their first issue they argue, however, the evidence was
factually insufficient to support the finding of the trial court that termination of the parent-child relationship was in the best interest of the children.  Their argument rests on the
expressed desire of the children to remain with their parents.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In a proceeding to terminate the parent-child relationship brought under section
161.001 of the Family Code, the petitioner must establish one ground listed under
subdivision (1) of the statute and must also prove that termination is in the best interest of
the child.  Tex. Fam. Code Ann. § 161.001 (Vernon 2008); In re J.L., 163 S.W.3d 79, 84
(Tex. 2005).  When reviewing the evidence for factual sufficiency, in a proceeding to
terminate the parent-child relationship, the court of appeals considers the entire record and
determines whether a factfinder could reasonably form a firm belief or conviction that both
statutory elements for termination have been satisfied.  In re C.H., 89 S.W.3d 17, 28 (Tex.
2002).  “‘If, in light of the entire record, the disputed evidence that a reasonable factfinder
could not credit in favor of the finding is so significant that a factfinder could not reasonably
form a firm belief or conviction in the truth of its finding, then the evidence is factually
insufficient.’”  In re H.R.M., 209 S.W.3d 105, 108 (Tex. 2006) (quoting In re J.F.C., 96
S.W.3d 256, 266 (Tex. 2002)). There is a strong presumption that keeping a child with a
parent is in the best interest of the child.  In re R.R., 209 S.W.3d 112, 116 (Tex. 2006).  It
is also presumed that prompt and permanent placement of the child in a safe environment
is in the best interest of the child.  Tex. Fam. Code Ann. § 263.307(a) (Vernon 2008). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Supreme Court of Texas has identified factors for consideration by the trier of
fact in determining whether termination is in the best interest of the child: the desires of the
child; the emotional and physical needs of the child now and in the future; the emotional
and physical danger to the child now and in the future; the parental abilities of the
individuals seeking custody; the programs available to assist these individuals to promote
the best interest of the child; the plans for the child by these individuals or by the agency
seeking custody; the stability of the home or proposed placement; the acts or omissions
of the parent which may indicate that the existing parent-child relationship is not proper;
and any excuse for the acts or omissions of the parent.  Holley v. Adams, 544 S.W.2d 367,
372 (Tex. 1976).  However, these considerations are not exhaustive nor is proof of each
a condition precedent to termination of the parent-child relationship.  In re C.H., 89 S.W.3d
at 27.  The absence of evidence of some of the Holley considerations does not preclude
the factfinder from reasonably forming a strong conviction or belief that termination is in the
child’s best interest, particularly in the face of undisputed evidence that the parental
relationship endangered the safety of the child.  Id.  The best interest analysis evaluates
the best interest of the child, not the parent.  In re S.A.P., 169 S.W.3d 685, 707
(Tex.App.–Waco 2005, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The evidence supporting the statutory grounds for termination may also be used to
support a finding that the best interest of the children warrants termination of the parent-child relationship.  In re C.H., 89 S.W.3d at 28; In re P.E.W., 105 S.W.3d 771, 779
(Tex.App.–Amarillo 2003, no pet.).  And a best-interest analysis may consider
circumstantial evidence, subjective factors, and the totality of the evidence as well as the
direct evidence.  In re S.H.A., 728 S.W.2d 73, 86-87 (Tex.App.–Dallas 1987, writ ref’d
n.r.e.).  A trier of fact may measure a parent’s future conduct by his or her past conduct
and determine that it is in the child’s best interest to terminate parental rights.  In re D.L.N.,
958 S.W.2d 934, 941 (Tex.App.–Waco 1997, pet. denied), overruled on other grounds by
In re C.H., 89 S.W.3d at 26. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The children desire the affections and nurture of their natural parents, a fact the
Department pointed out is not atypical, despite past abuse in a family.  But the desire of
the children alone is not determinative of their best interest.  The law recognizes what
virtually every parent knows, “[w]hat children want . . . is not always in their best interest.” 
Phillips v. Tex. Dep’t of Protective &amp; Regulatory Servs., 25 S.W.3d 348, 356
(Tex.App.–Austin 2000, no pet.).  Here, the undisputed facts present a history of father’s
and mother’s instability in relationships, employment and home life.  Punctuating these
accounts were episodes of abuse of illegal drugs including methamphetamine, and other
acts of bad conduct by father and mother.  Father’s testimonial self-expression of sobriety
lacked a corroborating anchor in the record.  Father could not account for the recent
positive hair follicle drug test and chose not to attend addiction support groups.  Regular
evasive family moves were the parents’ means of dealing with the Department.  Orders of
the court affecting the children were disregarded.  When stress rose in 2007, father and
mother found it expedient to remove T.H. and S.H. from placement and flee the state. 
Despite involvement with the Department for well over a year, father and mother did not
complete their family service plans.  Father lives in Texas and mother in South Carolina. 
How this arrangement would serve the best interest of the children was not shown.  Father
voiced laudable personal education and career plans but at the time of trial had no proven
job history and lived with his sister.  The trial court could have viewed mother’s focus to be
on resolution of her pending South Carolina criminal charges.  The trial evidence showed
placement of the children with their grandparents, despite the problems at school of T.H.,
was sufficient for the needs of the children.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Most importantly, however, juxtaposed with the desire of the children for
reunification with their parents are the trial court’s unchallenged findings that father and
mother endangered the physical or emotional well-being of the children.  To return children
to an endangering environment does not serve their best interest despite expressed
affections.
Although a child’s love of his natural parents is a very important
consideration in determining the best interests of the child, it cannot override
or outweigh the overwhelming and undisputed evidence showing that the
parents placed or allowed the child to remain in conditions, and engaged in
conduct or placed the child with persons who engaged in conduct, which
endangers the physical and emotional well-being of the child.  The child’s
love of his parents cannot compensate for the lack of an opportunity to grow
up in a normal and safe way equipped to live a normal, productive, and
satisfying life.
&nbsp;
In re W.S.M., 107 S.W.3d 772, 773 (Tex.App–Texarkana 2003, no pet.).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Given the unchallenged findings and supporting evidence, we conclude,
notwithstanding the desire of the children, the trial court could have formed a firm belief or
conviction that termination of the parental rights of father and mother was in the best
interest of the children.


  We overrule the first issue of father and mother.
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we overrule the first issue of father and mother, we do not reach their
second issue, which is conditioned on sustaining their first issue.  See Tex. R. App. P.
47.1.  We affirm the final order of the trial court terminating the parental rights of father and
mother to C.H., T.H. and S.H.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



